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                               UNITED STATES DISTRICT COURT
                                         FOR THE                                   21ti SEP -8 PH 3: II
                                   DISTRICT OF VERMONT                                      CLERK
TERESAGADE                                         )                                BY · t:ftv\/ .
     Plaintiff                                     )                                   ii:PUTY CLEM\
                                                   )
           v.                                      )    Civil Case No. 5: 14-cv-048-cr
                                                   )
STATE FARM MUTUAL AUTO. INS. CO.                   )
     Defendant                                     )

                         STIPULATION AND ORDER OF DISMISSAL

         Pursuant to F.R.C.P. 41, the parties, by their attorneys, stipulate and agree that this action

shall be "DISMISSED WITH PREJUDICE," with each party to pay their own costs and

attorney's fees and with all rights of appeal waived.

Date: September 8, 2016                                 TERESAGADE

                                                        Is/ Todd D. Schlossberg
                                                        Todd D. Schlossberg, Esq.
                                                        Counsel for Plaintiff
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                                                        (802) 860-2600

Date: September 8, 2016                                 STATE FARM MUTUAL AUTOMOBILE
                                                        INSURANCE COMPANY

                                                        Is/ Richard H. Wadhams. Jr.
                                                        Richard H. Wadhams, Jr., Esq.
                                                        Counsel for Defendant
                                                        (802) 863-2888




Dated:      '¢tb ~
                                                        Chief United States District Court Judge
